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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                                                 CASE NO.: 16-21346-BKC-RAM
                                                               PROCEEDING UNDER CHAPTER 13

IN RE:

JOSE DE JESUS BASILIO
IRAIDA FERNANDEZ

_____________________________/
DEBTORS

         NOTICE CONTINUING DEBTORS' MOTION TO MODIFY CONFIRMED PLAN

   YOU ARE HEREBY NOTIFIED that the Debtor's Motion to Modify Confirmed Plan has been
continued to September 18, 2018 at 9:00 AM at UNITED STATES BANKRUPTCY COURT, C.
CLYDE ATKINS UNITED STATES COURTHOUSE, 301 NORTH MIAMI AVENUE,
COURTROOM 4, MIAMI, FL 33128.

  I HEREBY CERTIFY that a true and correct copy of the foregoing Notice Continuing Debtor's
Motion to Modify Confirmed Plan was mailed to those parties listed on this 20th day of August, 2018.



                                                     _____________________________________
                                                      /s/ Nancy K. Neidich
                                                      NANCY K. NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027-9806
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                                   NOTICE CONTINUING DEBTORS' MOTION TO MODIFY CONFIRMED PLAN
                                                                      CASE NO.: 16-21346-BKC-RAM

                                    SERVICE LIST

COPIES FURNISHED TO:

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STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
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DEBTORS
JOSE DE JESUS BASILIO
IRAIDA FERNANDEZ
13989 SW 17TH TERR
MIAMI, FL 33175

ATTORNEY FOR DEBTORS
JULIO C. MARRERO, ESQUIRE
3850 BIRD ROAD
PENTHOUSE 1
CORAL GABLES, FL 33146

JULIO C. MARRERO, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
